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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHARLES RICE KENDALL and
ANN P. HOCHBERG, as Trustees             Civil Action No. 1:20-CV-00838-CCC
for The Thomas E. Proctor Heirs Trust,
                                         Electronically Filed
                     Plaintiffs,

         v.

ALTA MARCELLUS DEVELOPMENT,
LLC, ARD OPERATING, LLC,
INTERNATIONAL DEVELOPMENT
CORPORATION, and SWN
PRODUCTION COMPANY, LLC,

                     Defendants.

                                    ORDER

      AND NOW, this 19th day of June 2020, in consideration of Defendant

International Development Corporation’s Motion to Extend Time for International

Development Corporation to Respond to Complaint, the said Motion is

GRANTED. International Development Corporation shall file a response to the

Complaint on or before June 30, 2020.




                                                BY THE COURT:
                                                 /S/ CHRISTOPHER C. CONNER
                                                 Christopher C. Conner
                                                 United States District Judge
                                                 Middle District of Pennsylvania
